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                         IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF PENNSYLVANIA


 MERIDITH JONES,

                         Plaintiff,                         Case No. 1:20-cv-10895

        v.

 LOVE YOUR MELON INC.,

                         Defendant.


                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Now come the parties in the above-entitled action, by their attorneys, and hereby stipulate

and agree that the action be Dismissed, with prejudice, and with each party bearing her and its own

costs, pursuant to Fed. R. Civ. P. 41(A)(1)(a)(ii).



       Dated: November 18, 2020                Respectfully Submitted,

 /s/ Jason M. Leviton                                 /s/ Tony K. Lu
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 Counsel for Plaintiff
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed through

the ECF system on this date, and that a true copy of this document will be sent to those indicated

as non-registered participants on the Notice of Electronic Filing, if any, by on the same date.

                                              Respectfully Submitted,

 Dated: November 18, 2020                          /s/ Jason M. Leviton
                                                   Jason M. Leviton
